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 UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------- X
 CHAIM DOV PRZEWOZMAN, HADASSAH
 PRZEWOZMAN, individually, as the personal
 representative of the Estate of Pinches Menachem
 Przewozman, and as parent and natural guardian of Y.P.,                  Case No. 20-6088-NGG-RLM
 a minor, and P.P., a minor, CHAYA RACHEL
 PRZEWOZMAN, individually, and as parent and natural
 guardian of A.M.P., a minor, and F.P., a minor,
 SARA PRZEWOZMAN-ROZENBAUM, YAFA
 PRZEWOZMAN, and TZVI YOSEF PRZEWOZMAN,
                                   Plaintiffs,
                            -against-
 QATAR CHARITY, QATAR NATIONAL BANK and
 MASRAF AL RAYAN,
                                    Defendants.
 -------------------------------------------------------------------- X

                PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
             EX PARTE MOTION FOR ISSUANCE OF LETTERS ROGATORY

        Plaintiffs respectfully submit this memorandum of law in support of their motion seeking

issuance of letters rogatory to effect service of process on Defendants in the State of Qatar.

                             NATURE OF SUIT AND PROCEDURAL HISTORY

        Plaintiffs are victims of a terrorist attack carried out by the terrorist groups Hamas and

Palestinian Islamic Jihad (“PIJ”). See Declaration of Joshua K. Perles executed on December 28,

2020 (“Perles Decl.”) at Exhibit 1 at ¶¶ 26-38, 326-38. Plaintiffs allege that Defendants are

members of a conspiracy to launder funds from the State of Qatar through the United States and

Europe for Hamas and PIJ. See id. at ¶¶ 1-6, 106-325. Plaintiffs assert claims against

Defendants for money damages under 18 U.S.C. §§ 2333, 2339A and 2339B. See id. at ¶¶ 339-

95.

        Defendants Qatar National Bank, Qatar Charity, and Masraf Al Rayan are entities created

under the laws of the State of Qatar that have their principal places of business in the State of
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Qatar. See Perles Decl. at ¶¶ 2, 4-6 and Exhibit 1 at ¶¶ 39-82. This Court has subject matter

jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 18 U.S.C. §§ 2333(a) and 2338 as

a civil action brought by citizens of the United States who have been injured by reason of acts of

international terrorism and their estates, survivors, and heirs. See Perles Decl. Exhibit 1 at ¶¶ 20-

21. Defendants are subject to personal jurisdiction in the United States pursuant to 18 U.S.C.

§ 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2) because they have transacted business

and committed tortious acts within the United States (and New York) by transferring funds

through the United States (and New York) for the benefit of Hamas and PIJ and have

purposefully availed themselves of United States jurisdiction in the course of committing the

wrongful acts alleged herein. See id. at ¶¶ 23-25.

                                             ARGUMENT

       THE COURT HAS AUTHORITY TO ISSUE LETTERS ROGATORY IN ITS DISCRETION

        The Federal Rules of Civil Procedure generally provide for service of process upon a

corporation, partnership, or other unincorporated association, “at a place not within any judicial

district of the United States, in any manner prescribed by [Federal] Rule [of Civil Procedure] 4(f)

for serving an individual, except personal delivery under (f)(2)(C)(i).” Fed. R. Civ. P. 4(h)(2).

The cross-referenced Rule 4(f) authorizes service “by an internationally agreed means of service

that is reasonably calculated to give notice, such as those authorized by the Hague Convention on

the Service Abroad of Judicial and Extrajudicial Documents,” Fed. R. Civ. P. 4(f)(1), or, “if there

is no internationally agreed means, . . . by a method that is reasonably calculated to give notice . .

. [including] as the foreign authority directs in response to a letter rogatory or letter of request,”

Fed. R. Civ. P. 4(f)(2)(B), or “by other means not prohibited by international agreement, as the

court orders.” Fed. R. Civ. P. 4(f)(3).



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        Resort to letters rogatory is appropriate here because the State of Qatar is not a signatory

to the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents, or any

other service treaty.1 Plaintiffs’ counsel have retained the services of Ancillary Legal

Corporation (“ALC”), a company that specializes in foreign service of process, and has prior

experience in obtaining service in Qatar pursuant to letters rogatory. See Perles Decl. at ¶ 7.

ALC has advised Plaintiffs’ counsel that in order for a judgment entered against Defendants in

this action to be enforceable in Qatar against Defendants’ assets located there, service must be

effected in Qatar pursuant to letters rogatory. See id. See also Edward Burton, Service of

Process Abroad, Am. Bar Ass’n, Gen. Prac., Solo & Small Firm Div. Mag. (Oct. 1999) (“The

great advantage of the letters rogatory procedure lies in the enforceability of the American

judgment in the country where service of process was issued.”); Government’s Memorandum of

Law in Support of Its Motion for Permission to Effect Service Through Alternative Means and

Issuance of Letters Rogatory, United States v. Lebanese Canadian Bank SAL, No. 11 Civ. 9186

(PAE) (S.D.N.Y. May 4, 2012) (“The Government requests the issuance of letters rogatory . . . in

order to maximize the likelihood that a judgment in this matter will be enforceable in the relevant

foreign jurisdictions.”).

        The power of the federal courts to issue letters rogatory derives from 28 U.S.C. § 1781

and from the court’s inherent authority. See United States v. Fawwaz, 2014 WL 627083, at *2,

2014 U.S. Dist. LEXIS 20742, at *3, (S.D.N.Y. Feb. 18, 2014) (“District courts have inherent

authority to issue letters rogatory. It is well-settled that the decision of whether to issue letters

rogatory lies within a district court’s sound discretion.”) (internal quotations omitted). Title 28,




1
 See STATUS TABLE, HAGUE CONFERENCE ON PRIVATE INTERNATIONAL LAW,
https://www.hcch.net/en/instruments/conventions/status-table/?cid=17.
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United States Code, Section 1781 states, in relevant part:

       The Department of State has power, directly, or through suitable channels . . .
       (2) to receive a letter rogatory issued, or request made, by a tribunal in the United
       States, to transmit it to the foreign or international tribunal, officer, or agency to
       whom it is addressed, and to receive and return it after execution.

28 U.S.C. § 1781(a)(2). ALC has advised that the United States Department of State and foreign

courts prefer that the letters rogatory be served as originals bearing a judge’s signature. See

Perles Decl. at ¶ 8. See also Perles Decl. at ¶ 9 and Exhibit 6 at p.3. Similarly, the certified

copies of the documents to be served should bear a Judge’s signature and the stamp of the Court.

Perles Decl. at ¶ 8.

                                            CONCLUSION

       For the forgoing reasons, Plaintiffs respectfully requests this Court to:

       (1) grant this motion in its entirety;

       (2) issue the proposed Letters Rogatory submitted as Exhibits 3-5 to the Declaration of

Joshua K. Perles; and

       (3) certify three copies of the Complaint filed on December 15, 2020 (Perles Exhibit 1

[ECF # 1]) and one copy of each of the Summonses issued on December 15, 2020 (Perles

Exhibit 2 [ECF # 4, 4-1, 4-2]).

Dated: January 4, 2021                          Respectfully submitted,

                                                  /s/ James P. Bonner
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